                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA


HARRY CANTY, JR.,                                            Civil Action No. 3:15-cv-628

                   Plaintiff,
                                                         DEFENDANT’S ANSWER AND
       vs.                                                      DEFENSES

DUKE ENERGY CAROLINAS, LLC,

                   Defendant.



       NOW COMES Defendant Duke Energy Carolinas, LLC (“Defendant” or “Duke”), and

files its Answer and Defenses to the Complaint filed against it by Harry Canty, Jr. (“Plaintiff”).

                          PARTIES, JURISDICTION, AND VENUE

       1.      Defendant lacks knowledge and information sufficient to form a belief about the

allegations in Paragraph 1. As such, Defendant denies the allegations in Paragraph 1.

       2.      Defendant admits the allegations in Paragraph 2.

       3.      Defendant admits that this Court has subject matter jurisdiction over this action.

Except as specifically admitted, Defendant denies the allegations in Paragraph 3.

       4.      Defendant admits that this Court has personal jurisdiction over it. Except as

specifically admitted, Defendant denies the allegations in Paragraph 4.

       5.      Defendant admits that venue is proper in this Court.         Except as specifically

admitted, Defendant denies the allegations in Paragraph 5.

       6.      Defendant admits the allegations in Paragraph 6.

                            CONDITIONS PRECEDENT TO SUIT

       7.      Defendant admits that Plaintiff filed Charge No. 430-2015-01020 with the U.S.

EEOC. Except as specifically admitted, Defendant denies the allegations in Paragraph 7.




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       8.      Defendant denies the allegations in Paragraph 8.

       9.      Defendant admits that the U.S. EEOC issued Plaintiff a Right to Sue letter on

August 25, 2015. Defendant lacks knowledge and information sufficient to form a belief about

the remaining allegations in Paragraph 9. As such, Defendant denies the remaining allegations in

Paragraph 9. Except as specifically admitted, Defendant denies the allegations in Paragraph 9.

       10.     Defendant lacks knowledge and information sufficient to form a belief about the

allegations in Paragraph 10. As such, Defendant denies the allegations in Paragraph 10.

       11.     Defendant denies the allegations in Paragraph 11.

                                  FACTUAL ALLEGATIONS

       12.     Defendant admits that Plaintiff began work for Defendant on or about February

26, 2007. Defendant lacks knowledge and information sufficient to form a belief about the

remaining allegations in Paragraph 12. As such, Defendant denies the remaining allegations in

Paragraph 12. Except as specifically admitted, Defendant denies the allegations in Paragraph 12.

       13.     Defendant denies the allegations in Paragraph 13.

       14.     Defendant denies the allegations in Paragraph 14.

       15.     Defendant denies the allegations in Paragraph 15.

       16.     Defendant admits that Plaintiff was asked to become a security trainer for the

facility. Except as specifically admitted, Defendant denies the allegations in Paragraph 16.

       17.     Defendant admits that Plaintiff contacted Employee Concerns Program (“ECP”)

representative Shad Berthrong. Except as specifically admitted, Defendant denies the allegations

in Paragraph 17.

       18.     Defendant admits that Mr. Berthrong conveyed to Plaintiff that Michael Green

had stated that Plaintiff’s skill level set was high and that Plaintiff would be a better contributor




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to the success of the team in another position. Except as specifically admitted, Defendant denies

the allegations in Paragraph 18.

       19.     Defendant denies the allegations in Paragraph 19.

       20.     Defendant admits that Plaintiff was moved to a different assignment during a tri-

annual Nuclear Regulatory Commission drill and that Bo Arrington told Plaintiff that it was

because of a directive from corporate. Except as specifically admitted, Defendant denies the

allegations in Paragraph 20.

       21.     Defendant admits that Plaintiff complained to ECP about this matter. Except as

specifically admitted, Defendant denies the allegations in Paragraph 21.

       22.     Defendant admits that Plaintiff was asked to move away from his self-selected

seat at the officers’ table and take a seat with the rest of his colleagues in order to maintain the

same division between officers and non-officers that is present during drills.             Except as

specifically admitted, Defendant denies the allegations in Paragraph 22.

       23.     Defendant admits that it invited Plaintiff to state any issues he wanted to be

investigated in writing so as to facilitate a full investigation, but that Plaintiff refused. Except as

specifically admitted, Defendant denies the allegations in Paragraph 23.

       24.     Defendant admits the allegations in Paragraph 24.

       25.     Defendant admits the allegations in Paragraph 25.

       26.     Defendant admits that Plaintiff asked Linda Sutton and Lieutenant Travis Brittain

about his vacation in early 2015 and that they investigated the matter fully and promptly. Except

as specifically admitted, Defendant denies the allegations in Paragraph 26.

       27.     Defendant admits that Lieutenant Owen Crater approached four employees seated

in the break room on the clock and encouraged them to go back into the search area. Defendant




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lacks knowledge and information sufficient to form a belief about the truth of Plaintiff’s

allegations related to the views and thoughts of others.        Except as specifically admitted,

Defendant denies the allegations in Paragraph 27.

       28.       Defendant lacks knowledge and information sufficient to form a belief about the

allegations in Paragraph 28. As such, Defendant denies the allegations in Paragraph 28.

       29.       Defendant admits that Plaintiff complained to human resources about the March

2, 2015 discussion between himself and Lieutenant Owen Crater. Defendant admits that John

Drakeford and Michael Sharpe also submitted statements to Defendant. Defendant admits that it

began a thorough and prompt investigation. Except as specifically admitted, Defendant denies

the allegations in Paragraph 29.

       30.       Defendant denies the allegations in Paragraph 30.

       31.       Defendant denies the allegations in Paragraph 31.

       32.       Defendant admits that Defendant completed its investigation into Plaintiff’s

complaint on or about June 2, 2015. Except as specifically admitted, Defendant denies the

allegations in Paragraph 32.


                        CLAIM FOR RELIEF
DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF TITLE VII OF THE
                     CIVIL RIGHTS ACT OF 1964

       33.       Defendant incorporates its previous responses into this Paragraph 33 as if fully

stated herein.

       34.       Defendant denies the allegations in Paragraph 34.

       35.       Defendant admits the allegations in Paragraph 35.

       36.       Defendant denies the allegations in Paragraph 36.

       37.       Defendant denies the allegations in Paragraph 37.




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       38.       Defendant denies the allegations in Paragraph 38.

       39.       Defendant admits that Plaintiff identifies as African American and began the

EEOC process on March 27, 2015 alleging discrimination and retaliation in employment.

Defendant admits that the EEOC completed its investigation by dismissing Plaintiff’s Charge of

Discrimination with a no cause finding. Defendant lacks knowledge and information sufficient

to form a belief about the remaining allegations in Paragraph 39. As such, Defendant denies the

remaining allegations in Paragraph 39. Except as specifically admitted, Defendant denies the

allegations in Paragraph 39.

       40.       Defendant denies the allegations in Paragraph 40.

       41.       Defendant denies the allegations in Paragraph 41.

       42.       Defendant denies the allegations in Paragraph 42.

       43.       Defendant denies the allegations in Paragraph 43.

       44.       Defendant denies the allegations in Paragraph 44.

       45.       Defendant denies the allegations in Paragraph 45.

       46.       Defendant denies the allegations in Paragraph 46.


                                  CLAIM FOR RELIEF
                           RETALIATION IN VIOLATION OF
                      TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

       47.       Defendant incorporates its previous responses into this Paragraph 47 as if fully

stated herein.

       48.       Defendant denies the allegations in Paragraph 48.

       49.       Defendant denies the allegations in Paragraph 49.

       50.       Defendant denies the allegations in Paragraph 50.

       51.       Defendant denies the allegations in Paragraph 51.




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       52.       Defendant denies the allegations in Paragraph 52.

       53.       Defendant denies the allegations in Paragraph 53.

       54.       Defendant admits that Plaintiff identifies as African American and began the

EEOC process on March 27, 2015 alleging discrimination and retaliation in employment.

Defendant admits that the EEOC completed its investigation by dismissing Plaintiff’s Charge of

Discrimination with a no cause finding. Defendant lacks knowledge and information sufficient

to form a belief about the remaining allegations in Paragraph 54. As such, Defendant denies the

remaining allegations in Paragraph 54. Except as specifically admitted, Defendant denies the

allegations in Paragraph 54.

       55.       Defendant denies the allegations in Paragraph 55.

       56.       Defendant denies the allegations in Paragraph 56.

       57.       Defendant denies the allegations in Paragraph 57.

       58.       Defendant denies the allegations in Paragraph 58.

       59.       Defendant denies the allegations in Paragraph 59.

       60.       Defendant denies the allegations in Paragraph 60.

                         CLAIM FOR RELIEF
  DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF 42 U.S.C. § 1981

       61.       Defendant incorporates its previous responses into this Paragraph 61 as if fully

stated herein.

       62.       Defendant denies the allegations in Paragraph 62.

       63.       Defendant denies the allegations in Paragraph 63.

       64.       Defendant denies the allegations in Paragraph 64.

       65.       Defendant denies the allegations in Paragraph 65.

       66.       Defendant denies the allegations in Paragraph 66.




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       67.       Defendant denies the allegations in Paragraph 67.

       68.       Defendant denies the allegations in Paragraph 68.


                             CLAIM FOR RELIEF
             DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF
                              N.C.G.S. § 143-422.2

       69.       Defendant incorporates its previous responses into this Paragraph 69 as if fully

stated herein.

       70.       Defendant denies the allegations in Paragraph 70.

       71.       Defendant denies the allegations in Paragraph 71.

       72.       Defendant denies the allegations in Paragraph 72.

       73.       Defendant denies the allegations in Paragraph 73.

       74.       Defendant denies the allegations in Paragraph 74.

                                     PRAYER FOR RELIEF

       Defendant denies that Plaintiff is entitled to any relief, legal or equitable, as stated in the

Complaint, or otherwise. Defendant denies that Plaintiff’s allegations should survive judicial

review or be determined by a jury. Defendant specifically denies parts (1) through (12) of the

Complaint’s “WHEREFORE” Paragraph on Page 10 of the Complaint.

       All allegations of the Complaint not specifically admitted are hereby denied.


                           AFFIRMATIVE AND OTHER DEFENSES

                                         FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                       SECOND DEFENSE

       Plaintiff’s claims fail because Defendant’s actions regarding Plaintiff were at all times

taken for legitimate, non-discriminatory reasons.



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                                         THIRD DEFENSE

        Defendant did not discriminate against Plaintiff in any way.

                                       FOURTH DEFENSE

        Defendant denies that it has engaged in any unlawful employment practice in violation of

Title VII of the Civil Rights Act of 1964, Section 1981 of the Civil Rights Act of 1866, North

Carolina public policy, or any other law.

                                         FIFTH DEFENSE

        Plaintiff’s claims are barred to the extent he failed to mitigate his alleged injuries and

damages, if any, and therefore he is not entitled to recover the damages claimed.

                                         SIXTH DEFENSE

        Plaintiff’s claims are barred to the extent they are outside the applicable statute of

limitations.

                                       SEVENTH DEFENSE

        Plaintiff’s claims are barred to the extent that he failed to satisfy all requisite conditions

precedent to filing.

                                        EIGHTH DEFENSE

        Plaintiff’s claims are barred to the extent that he failed to exhaust required administrative

prerequisites to suit.

                                        NINTH DEFENSE

        Plaintiff is not entitled to any damages in this action. However, in the event Plaintiff

recovers damages in this action, the amounts of such damages are subject to the due process

safeguards afforded by the United States and North Carolina Constitutions, including the Law of




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Land Clause, and Plaintiff is not entitled to damages to the extent that the award of such damages

would violate the United States or North Carolina Constitutions.

                                       TENTH DEFENSE

       Some or all of Plaintiff’s claims are barred by the doctrines of waiver, equitable estoppel,

quasi-estoppel, laches, and/or unclean hands.

                                    ELEVENTH DEFENSE

       Plaintiff is not entitled to punitive damages against Defendant because Defendant in good

faith attempted to comply with all federal, state and local laws, and never engaged in any

conduct that would justify an award of such damages.

                                     TWELFTH DEFENSE

       Defendant engaged at all times in good faith toward Plaintiff, made all employment

related decisions regarding Plaintiff based solely on non-discriminatory reasons, and did not

engage in any willful, wanton, or wrongful activity that would support a claim for punitive

damages.

                                   THIRTEENTH DEFENSE

       Even if an improper or impermissible motive played any role in the challenged

employment actions (which Defendant specifically and vehemently denies), the same actions

would have been taken for legitimate, nondiscriminatory reasons without regard to the improper

or impermissible motive.

                                  FOURTEENTH DEFENSE

       To the extent, if any, that Defendant’s employees or agents engaged in any unlawful

conduct, such actions were outside the scope of his or her employment, were contrary to the




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practices, policies and directive of Defendant, were not done in furtherance of Defendant’s

business interests, and were not ratified by Defendant.

                                       FIFTEENTH DEFENSE

          Plaintiff was an at-will employee, subject to changes in the terms of his employment,

work hours and schedule, reassignment, and termination, at any time, for any reason, and without

notice.

                                       SIXTEENTH DEFENSE

          Defendant has in place an effective anti-harassment and anti-discrimination policy to

prevent and promptly correct any harassment.

                                      SEVENTEENTH DEFENSE

          Plaintiff unreasonably failed to promptly and fully report his allegations of harassment

and discrimination.

                                      EIGHTEENTH DEFENSE

          Defendant exercised reasonable care to prevent and promptly correct any harassing

behavior allegedly committed.          Plaintiff unreasonably failed to take advantage of any

preventative or corrective opportunities provided by Defendant or otherwise available to him to

avoid harm.

                                         NINETEENTH DEFENSE

          Plaintiff’s alleged wrongs do not amount to a tangible adverse employment action and

therefore, his claims legally fail.

          Defendant reserves the right to plead additional affirmative and other defenses as they

become known through discovery or otherwise.




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       WHEREFORE, Defendant prays that the Court deny the relief sought by Plaintiff in all

respects, that Defendant be fully discharged from any and all liability as alleged in the

Complaint, and the Court award Defendant its costs and reasonable attorneys’ fees incurred in

defending this action.




Dated: January 27, 2016                        By: /s/ Stephen D. Dellinger
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                                                   Attorney for Defendant




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                                       CERTIFICATE OF SERVICE

         I hereby certify that on January 27, 2015, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will automatically send notification of such

filing to the following counsel of record:


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